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                                 UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION (KANSAS CITY)

In re:                                                                      Case No. 18-42737-can-13
         LAVETTE YVONNE TROTTER

                        Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Richard V. Fink Trustee, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 10/19/2018.

         2) The plan was confirmed on 02/05/2019.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
07/03/2019, 10/22/2019, 02/09/2021.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 05/22/2019, 06/07/2019, 08/23/2019, 12/28/2020, 07/20/2021.

         5) The case was dismissed on 10/18/2021.

         6) Number of months from filing or conversion to last payment: 36.

         7) Number of months case was pending: 42.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $50,382.50.

         10) Amount of unsecured claims discharged without full payment: $0.00.*

         * The trustee has no knowledge of whether there are non-priority unsecured claim amounts included in this number
         that are statutorily non-dischargeable. The trustee makes no assertion in this Notice regarding eligibility for discharge,
         whether a discharge will be entered in this case or whether any individual debts will be discharged.


         11) All checks distributed by the trustee relating to this case have cleared the bank .


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Receipts:

        Total paid by or on behalf of the debtor             $47,703.47
        Less amount refunded to debtor                        $1,419.24

NET RECEIPTS:                                                                                    $46,284.23


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $9,298.36
    Court Costs                                                              $0.00
    Trustee Expenses & Compensation                                      $3,340.14
    Other                                                                    $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $12,638.50

Attorney fees paid and disclosed by debtor:                 $390.00


Scheduled Creditors:
Creditor                                      Claim         Claim            Claim         Principal       Int.
Name                                Class   Scheduled      Asserted         Allowed          Paid          Paid
AD ASTRA RECOVERY               Unsecured      1,383.00            NA              NA             $0.00      $0.00
ADVANCE AMERICA CASH ADVANCE Unsecured            100.00      1,541.80        1,541.80            $0.00      $0.00
AFFILIATED ACCEPTANCE CORP      Unsecured         935.00           NA              NA             $0.00      $0.00
AT&T CORP                       Unsecured         779.00      1,044.54        1,044.54            $0.00      $0.00
AXCESS FINANCIAL                Unsecured         100.00           NA              NA             $0.00      $0.00
CHECK & GO                      Unsecured         100.00           NA              NA             $0.00      $0.00
COMM AMER CU                    Secured       18,574.00     18,574.00        18,574.00            $0.00      $0.00
COMM AMER CU                    Unsecured      3,000.00            NA              NA             $0.00      $0.00
COMMUNITYAMERICA CREDIT UNIO Secured          18,574.00     19,638.90           463.76         $463.76     $736.24
COMMUNITYAMERICA CREDIT UNIO Unsecured              0.00    13,516.44        13,516.44            $0.00      $0.00
DIRECTV LLC BY AMERICAN INFOSO Unsecured          297.00        296.53          296.53            $0.00      $0.00
INTERNAL REVENUE SERVICE        Priority      12,819.00     12,819.00         5,232.70         $920.59       $0.00
INTERNAL REVENUE SERVICE        Unsecured           0.00    83,516.90        84,972.21            $0.00      $0.00
LEES CHINESE MARTIAL ARTS       Unsecured         100.00           NA              NA             $0.00      $0.00
LOANME INC                      Unsecured      3,095.00            NA              NA             $0.00      $0.00
LVNV FUNDING LLC                Unsecured         654.00        654.27          654.27            $0.00      $0.00
MARINER FINANCE LLC             Unsecured      3,758.00       3,833.35        3,833.35            $0.00      $0.00
MRTBROKRGE                      Unsecured         538.00           NA              NA             $0.00      $0.00
NATIONAL CREDIT ADJUSTERS LLC Unsecured        2,693.00            NA              NA             $0.00      $0.00
ONXY & SHDOW EQUITIES LLC NOW Secured         62,360.34     94,358.44        94,358.44      $24,952.03       $0.00
  MONEY WITH MEANING FUND LLC                                                             $4,846.71       $0.00
  ONXY & SHADOW EQUITIES LLC                                                              $4,813.27       $0.00
  ONXY & SHDOW EQUITIES LLC NOW                                                             $687.61       $0.00
  PAIGE WYMORE-WYNN, CLERK OF                                                             $1,375.22       $0.00
  RT EQUITY INVESTMENTS LLC                                                              $13,229.22       $0.00
ONXY & SHDOW EQUITIES LLC NOW Secured         33,712.50     35,687.08        35,687.08       $6,278.41       $0.00
  MONEY WITH MEANING FUND LLC                                                               $239.82       $0.00
  ONXY & SHADOW EQUITIES LLC                                                              $3,707.83       $0.00



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Scheduled Creditors:
Creditor                                      Claim          Claim        Claim        Principal        Int.
Name                               Class    Scheduled       Asserted     Allowed         Paid           Paid
  ONXY & SHDOW EQUITIES LLC NOW                                                         $666.43        $0.00
  RT EQUITY INVESTMENTS LLC                                                           $1,664.33        $0.00
ONXY & SHDOW EQUITIES LLC NOW Secured               NA          900.00       900.00        $158.34        $0.00
  ONXY & SHADOW EQUITIES LLC                                                             $95.70        $0.00
  ONXY & SHDOW EQUITIES LLC NOW                                                          $20.67        $0.00
  RT EQUITY INVESTMENTS LLC                                                              $41.97        $0.00
ONXY & SHDOW EQUITIES LLC NOW Secured            738.09         774.99       774.99        $136.36        $0.00
  ONXY & SHADOW EQUITIES LLC                                                             $82.41        $0.00
  ONXY & SHDOW EQUITIES LLC NOW                                                          $17.80        $0.00
  RT EQUITY INVESTMENTS LLC                                                              $36.15        $0.00
QC FINANCIAL SERVICES INC       Unsecured      1,000.00         625.00       625.00           $0.00       $0.00
QUANTUM3 GROUP LLC              Unsecured           NA          698.61       698.61           $0.00       $0.00
SOUTHWESTERN BELL TELEPHONE C Unsecured          158.00         158.60       158.60           $0.00       $0.00
SUNRISE CREDIT SERVICES INC     Unsecured        601.00            NA           NA            $0.00       $0.00
TRU GREEN                       Unsecured          0.00            NA           NA            $0.00       $0.00
WORLD ACCEPTANCE CORP           Unsecured        300.00            NA           NA            $0.00       $0.00


Summary of Disbursements to Creditors:
                                                             Claim           Principal                Interest
                                                           Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                   $94,358.44        $24,952.03                   $0.00
      Mortgage Arrearage                                 $36,462.07         $6,414.77                   $0.00
      Debt Secured by Vehicle                            $19,037.76           $463.76                 $736.24
      All Other Secured                                     $900.00           $158.34                   $0.00
TOTAL SECURED:                                          $150,758.27        $31,988.90                 $736.24

Priority Unsecured Payments:
       Domestic Support Arrearage                             $0.00             $0.00                   $0.00
       Domestic Support Ongoing                               $0.00             $0.00                   $0.00
       All Other Priority                                 $5,232.70           $920.59                   $0.00
TOTAL PRIORITY:                                           $5,232.70           $920.59                   $0.00

GENERAL UNSECURED PAYMENTS:                             $107,341.35                $0.00                $0.00


Disbursements:

        Expenses of Administration                            $12,638.50
        Disbursements to Creditors                            $33,645.73

TOTAL DISBURSEMENTS :                                                                        $46,284.23




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/09/2022                             By:/s/ Richard V. Fink Trustee
                                                                      Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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